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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


AARON THORNTON and TRICIA
THORNTON, Husband and Wife;
                                                                8:13CV117
                   Plaintiffs,

      vs.                                                ORDER OF DISMISSAL

STATE FARM INSURANCE
COMPANIES;

                   Defendant.


      This matter is before the Court on the Parties’ Stipulation for Dismissal (Filing No.

63). The Stipulation complies with Federal Rule of Civil Procedure 41(a)(1)(A)(ii), and

the Court concludes that it should be approved. The above-captioned action should be

dismissed with prejudice, and the parties will pay their own costs and attorney fees.

Accordingly,

      IT IS ORDERED:

      1. The Parties’ Stipulation for Dismissal (Filing No. 63) is approved;

      2. The above-captioned action is dismissed with prejudice; and

      3. The parties will pay their own costs and attorney fees.



      Dated this 30th day of March, 2015.

                                                BY THE COURT:

                                                s/Laurie Smith Camp
                                                Chief United States District Judge
